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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

SARA HAWES and AMY HILL, individually,
and on behalf of all others similarly situated,

               Plaintiffs,

v.                                                Case No.: 1:17-cv-00754

MACY’S, INC.,
                                                  JURY TRIAL DEMANDED
               Defendants.

                             AMENDED CLASS ACTION COMPLAINT
        Plaintiffs Sara Hawes and Amy Hill (“Plaintiffs”) bring this action on their own behalf

and on behalf of putative classes (the “Classes”) consisting of Plaintiffs and all others similarly

situated, pursuant to the laws of the United States and California and Missouri, or, in the

alternative, nationwide and in all 50 States and the District of Columbia, against Macy’s Inc.

(“Macy’s” or “Defendant”) and allege the following based on information and belief, except for

those paragraphs pertaining to Plaintiffs’ own actions, which are alleged based on personal

knowledge.

                                       INTRODUCTION
        1.     Plaintiffs bring this action on their own behalf, and on behalf of a Class consisting

of Plaintiffs and all others similarly situated, to redress Defendant’s deceptive acts and

unconscionable business practices designed to deceive and mislead consumers and the public

into believing that Defendant’s bedding and linen products had higher thread counts than they

actually have and, as such, were of better quality, more durable, last longer, softer, and more

comfortable for sleeping than products with lesser thread counts. In purchasing bedding and

linen products, Plaintiffs and the Class received less than what was promised by Defendant due

to the improperly inflated thread counts represented on advertisements and bedding and linen

labels sold by Defendant.

        2.     Members of the bedding and linen products industry, including the Defendant,

and it its manufactures and distributors, including Creative Textiles and AQ Textiles,
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consistently communicate to consumers that higher thread count sheets are of better quality,

softer, and more comfortable for sleeping. As a result, consumers purchasing bedding and linen

products use thread count as a primary indicator of the quality, durability and longevity of the

sheets offered for sale and pay higher prices for higher thread counts.

       3.      As part of a scheme to make their bedding and linen products more attractive,

boost sales, and increase profits, Defendant and its manufactures and distributors/importers,

including Creative Textiles and AQ Textiles, knowingly departed from known, well-established,

and long-standing industry standards governing the calculation and advertisement of thread

counts by inflating the thread counts on the labels of the products they manufactured, marketed,

distributed, and/or sold.

       4.      Defendant misrepresented, and continue to misrepresent, that the thread count in

many of the bedding and linen products they advertise, market, distribute throughout the country,

resulting in the sale of bedding and linen products represented to have greater than their true

thread counts to consumers throughout the United States. The representation of the false and

misleading thread count also deceives and misleads consumers into believing that they are

purchasing a product which is of higher quality, durability, longevity, softness, or better for

sleeping than products with a lower thread count.

       5.      Inaccurate thread counts create reasonable but mistaken beliefs by consumers

about the quality, durability and longevity of bedding and linen products.          For example,

reasonable consumers believe that a bedding package label stating that it contains 800 thread-

count bedding actually contains bedding with a thread count calculated at 800 according to an

honest and consistent industry standard. Likewise, consumers believe that an 800 thread-count

bedding is going to be of higher quality, durability, longevity, softer, and/or better for sleeping

than lower thread-count bedding.         Consumers rely on Defendant’s representations and

advertising as they compare and assess products and make purchase decisions.

       6.      As a direct result of Defendant’s improper, deceptive, and unconscionable scheme

to misrepresent bedding and linen thread counts, Plaintiffs and other Class members suffered

damages because the inflated thread counts put forth by Defendant in their products induced

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Plaintiffs and other Class Members to purchase their products when Plaintiffs and other Class

Members would not have purchased them, or would only have paid a lower price for the product

if they had known the actual thread counts at the time of purchase.

                                 JURISDICTION AND VENUE

        7.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332 of the Class Action Fairness Act of 2005 because (i) there are 100 or more class

members, (ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of

interest and costs, and (iii) there is minimal diversity because at least one plaintiff and defendant

are citizens of different states. This Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. § 1367.

        8.      Venue is proper in this district pursuant to 28 U.S.C. § 1391, because Defendant

conduct business in this District, and have intentionally availed themselves of the laws and

markets of this District, and a substantial part of the events or omissions giving rise to the claims

occurred in this District.

        9.      Defendant Macy’s improper conduct set forth herein occurred in this District or

was conceived of and executed from this District in whole or in part. Defendant’s decisions to

engage in the improper conduct set forth herein were made in this District. Some of the bedding

and linen products at issue were advertised, marketed, sold and/or distributed by Macy’s, or its

operating entities, in this district. Macy’s or its operating entities directly advertised, marketed

and sold bedding and linen products to consumers in this district.

        10.     The harm alleged herein occurred in this District or emanated from Defendant’s

improper conduct that occurred in this District, in whole or in part.

                                              FACTS

        11.     Plaintiff Amy Hill is a resident of the City of St. Louis, Missouri and a citizen of

Missouri. Ms. Hill purchased Fairfield Square 1000TC Luxury Sateen sheets from a Macy’s

store in St. Louis County, MO. She believes she made the purchase in summer or fall of 2016.

Plaintiff Hill reasonably believed that the sheets she purchased were in fact of 1000 thread count,

and she was deceived by the false label because the sheets’ thread count was in fact far less.

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Plaintiff Hill relied on the thread count representations on the packaging when purchasing these

sheets and believed that the sheets were of higher quality, durability, longevity, softer, and better

for sleeping than sheets with lower thread counts.

         12.    Plaintiff Sara Hawes is an adult citizen of California. In or around May 2017, Ms.

Hawes purchased a Somerset Collection brand queen-size sheet set represented to be “900

Thread Count” from Defendant Macy’s retail store located at 8500 Beverly Blvd. in Los

Angeles, CA. See Ex. A, Label on sheets purchased by Plaintiff. Plaintiff relied on and was

deceived by the thread count representations on the packaging and in the Macy’s store when

purchasing these sheets and believed that she was purchasing sheets with a 900 thread count and

that the sheets were of higher quality, durability, longevity, softer and better for sleep than sheets

with lower thread counts. The actual thread count of her sheets was much less. Plaintiff paid

$76.11 ($69.99 plus tax) for this sheet set.

         13.    Defendant Macy’s is a Delaware corporation, with its principal executive offices

located at 7 West 7th Street, Cincinnati, Ohio 45202. Prior to June 1, 2007, Macy’s Inc. was

known as Federated Department Stores, Inc. As of April 2, 2016, Macy’s was operating 870

stores in 45 states, the District of Columbia, Guam and Puerto Rico under the names of Macy’s,

Macy’s Backstage, Bloomingdale’s, Bloomingdale’s Outlets, and Bluemercury. Macy’s also

made sales throughout the United States via its consumer websites: www.macys.com;

bloomingdales.com; and bluemercury.com. In Macy’s Annual Report for the fiscal year ending

January 30, 2016, Macy’s reported net sales of $27,079,000,000, of which 16% ($4,332,640,000)

was identified as Home/Miscellaneous sales, which presumably includes sales of bedding and

linen products. 1

         14.    Defendant Macy’s sells bedding and linen products bearing at least the following

brand names:
       AQ Textiles
       Bar III
       Betsey Johnson
       Bluebellgray

1
    The other categories are Women’s Accessories, Intimate Apparel, Shoes and Cosmetics;
      Woman’s Apparel; and Men’s and Children’s.
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         Brookstone
         Calvin Klein
         Carter’s
         Charter Club
         Donna Karan
         Echo
         Elite Home
         Fairfield Square Collection
         Hotel Collection
         Hugo Boss
         Jay Franco
         Jessica Sanders
         JLA Home
         Joy Mangano
         Lacoste Home
         Martex
         Martha Stewart Collection
         Nautica
         NoJo
         Pendleton
         Ralph Lauren
         Shavel
         Sunham
         Tommy Bahama Home
         Tommy Hilfiger
         Trina Turk
         Waterford
         Westpoint
         Westport

See www.macys.com.
         15.     Creative Textiles is a private limited company organized under the laws of the

Republic of India, with its primary place of business at 212, Cama Industrial Estate, Sun Mill

Compound Mumbai, Maharashtra 400013 India.

         16.     AQ Textiles is a North Carolina LLC with it principal place of business and

registered offices located at 214 Staunton Drive, Greensboro, North Carolina 27410.
         17.     Creative Textiles manufactures and sells textiles, including the relevant sheets and

bedding products, throughout the United States, through its subsidiary AQ Textiles. 2

         18.      AQ Textiles, on behalf of Creative Textiles, imports and distributes the relevant




2
    Creative Textiles was a defendant in the original complaint filed (Doc. 1) but the Court entered
     an order (Doc. 38) dismissing them for lack of personnel jurisdiction.
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sheet and bedding products to Defendant Macy’s. 3

         19.     Defendant Macy’s sold the relevant sheets and bedding products manufactured

and distributed by Creative Textiles and AQ Textiles in Ohio, Missouri, California and

throughout the United States during the relevant time period.

         20.     For consumers purchasing bedding and linens, thread count is used as an indicator

of fabric quality, durability and longevity and a basis on which they make purchasing decisions.

As the thread count increases, so does the price that consumers are willing to pay for bedding

and linens.

         21.     Industry participants at each level of the supply chain, including Defendant, and

its manufactures and distributors/importers, know that consumers will pay higher prices for

linens and bedding products with a higher thread count and as such increase the price as the

thread counts on the products increase. This includes manufacturers such as Creative Textiles,

distributors/importers such as AQ Textiles, and retailers such as Defendant Macy’s.

         22.     Consumers rely on represented thread count as the gauge for the quality,

durability, longevity and fitness for their bedding and linen products. See ABC News, Are

Shoppers       Short-Sheeted   by    Thread    Count?    November      14,   2016,    available     at

http://abcnews.go.com/GMA/ story?id=125380&page=1 (“Consumers who enjoy slipping under

top-quality bed sheets rely on thread count as a gauge while shopping….”).

         23.     Consumers pay more for higher thread count sheets. Id. (“A single-ply 300-count

can run about $55 a set, while the 600 thread-count sheets that [tested as] only a 300-count is

$180 a set.”).

         24.     An informal survey of the prices of cotton, king-size bedding sets at online

retailers in December 2016 showed that as thread count increased, so did the price for the

bedding.




3
    AQ textiles was a defendant in the original complaint filed (Doc. 1) but the Court entered an
     order (Doc. 38) dismissing them for lack of personnel jurisdiction.
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       25.     The common or standard practice in the U.S. bedding and linen industry has been

to count the number of threads in both the warp (vertical direction) and filling (horizontal

direction). Common or standard practice counts each yarn as one thread, regardless of whether

the yarn was a single-ply or multi-ply yarn.

       26.     The American Society for Testing and Materials’ (“ASTM”) Standard Test
Method for Warp (End) Count and Filling (Pick) Count of Woven Fabric, Designation: D3775-

12, covers the standard test method for measuring warp end count and filling pick count and is

applicable to all types of woven fabric. Section 9.1.1 of D3775-12 instructs on the appropriate

method for determining thread count: “Count individual warp ends and filling picks as single

units regardless of whether they are comprised of single or plied components.”

       27.     The terms relevant to ASTM D3775-12, and related to textiles, are defined by

ASTM Designation: D123-03. See Section 3, Terminology of ASTM D3775-123. These terms,

among others, include:

               a. count, n ̶ in woven textiles, the number of warp yarns (ends) and filling yarns
                  (picks) per unit distance as counted while the fabric is held under zero tension,

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                  and is free of folds and wrinkles.

               b. end, n ̶ in fabric, an individual warp yarn (single or ply) or cord.

               c. filling, n ̶ yarn running from selvage to selvage at right angles to the warp in
                  a woven fabric.

               d. pick, n ̶ an individual filling yarn.

               e. pick count, n ̶ in woven fabrics, the number of filling yarns per unit fabric
                  length.

See ASTM D 123-03, Standard Terminology Relating to Textiles.

         28.   The prior versions of ASTM D3775, going back at least to 2003, included the

same instructions for proper counting under the standard. ASTM, Standard Test Method for

Warp End Count and Filling Pick Count of Woven Fabric, Designation: D3775-03a, Section

9.1.4 instructs, “Count individual warp yarns (ends) and filling yarns (picks) as single units

regardless of whether they are comprised of single or plied components.”

         29.   Per ASTM D3775-12 § 9.1.4, the standard deviation of the samples tested, should

be 5% or less. In other words, the stated thread count should be within 5% of the actual thread

count.

         30.   However, some bedding and linen manufacturers, importers and retailers, such as
Defendant, are not adhering to the standard-based, traditional, and common industry practice.

These manufacturers and retailers double or triple the true thread count by counting plied yarns

individually. This includes manufacturers such as Creative Textiles, distributors/importers such

as AQ Textiles, and retailers such as Defendant Macy’s.

         31.   According to the National Textiles Association (“NTA”) and the Federal Trade

Commission (“FTC”), this practice of determining thread count by counting plied yarns
individually “inflates the thread count numbers to levels which double or triple (or more) the

thread count as determined by the long standing, traditional way. This practice has also created

confusion in the marketplace and has caused consumers to compare thread counts that may have

been calculated in two dramatically different ways.”        See FTC Letter to National Textile

Association, August 2, 2005, Ex. B.


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       32.     In its Letter to the National Textile Association, the FTC stated that:

               [C]onsumers could be deceived or misled by the practice of stating
               an inflated thread count, achieved by multiplying the actual count
               by the number of plies within the yarn. A possible non-deceptive
               way to disclose both the thread count and the yarn ply would be to
               state, for example: ‘300 thread count, 2 ply yarn.’ A representation
               of ‘600 thread count’ for this same product would likely mislead
               consumers about the quality of the product being purchased.”
       33.     The practice of counting the plies that make up each thread was also condemned

by the American Textile Manufacturer’s Institute (“ATMI”). In a letter sent to the FTC on

January 31, 2002, Ex. C, ATMI addressed marketing of bed sheets and pillowcases to consumers

with claims of extremely high yarn or thread count claims, stating that:

       Labeling these products based on a count that includes each ply in plied yarns
       deceives the customer into believing that bedding products with higher counts are
       better, when, in fact, they might be inferior because of the method used to
       determine the count.
                                               …

       In many cases, these extremely high counts are achieved by counting yarns within
       a ply as individual yarns, thus dramatically increasing the number of yarns in a
       square inch of fabric. A plied yarn is one in which two or more yarns are twisted
       together to form a single strand.

       ATMI believes this method of labeling products based on counting each
       individual yarn in plies to be a deceptive practice, which misleads the American
       public into making purchasing decisions to purchase items, based on false and
       misleading information.

       ASTM method D 3775-96 (Standard Test Method for Fabric Count of Woven
       Fabric) [a prior version of D3775-12] the long-accepted industry standard for
       determining count. This method has been in use in this country for many years
       and serves as the industry’s standard way to report the count of many woven
       textile fabrics, including sheeting. It is based on the number of yarns in the warp
       direction and filling direction, regardless of ply, and has become an important
       parameter used by consumers to judge the quality of sheeting products, since the
       higher the count, the more luxurious the product.

       ATMI believes that any information provided to the consumer should be true and
       correct so as not to be deceptive or misleading. We believe that plied yarns are
       properly counted as only one yarn. For example, a fabric containing 250
       individual four ply yarns in a square inch would be described as a “250 thread
       count fabric, even though each thread or yarn contained four plies twisted
       together.” It would be false and misleading to describe this as a 1000 thread
       count product.

       34.     The FTC’s reply letter to ATMI dated March 18, 2002, advised how the

Commission’s staff would analyze claims that counting yarns within a ply as individual yarns to

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determine thread count was a deceptive practice. See Ex. D. The FTC advised that where

ASTM standards existed, the Commission would give great weight to the applicable standards to

determine if product claims were reasonable or deceptive:

       A thread count claim, like other objective, material claims about a product, must
       be supported by a “reasonable basis.” In determining what constitutes a
       reasonable basis for claims, we would consider what experts in the field believe is
       appropriate, including whether there are relevant consensus-based test procedures,
       such as an ASTM test procedure, or other widely accepted industry practices that
       apply to the matter. If so, we would give such procedure or practices great weight
       in determining whether the advertiser has met its substantiation burden. In other
       related context, the Commission has encouraged the use of ASTM tests. See
       Press Release, FTC Announces Actions on Wool Labeling Rules, dated March 8,
       1994 (copy attached) (“In its clarification of the procedure used for testing the
       fiber content of wool products, the FTC said the industry members should, where
       possible, use procedures established by the American Society for Testing and
       Materials (ASTM).”).
       35.     Despite these long-standing industry standards for calculating thread counts, and

the likelihood that deviating from the standards would mislead and deceive consumers,

Defendant Macy’s bedding and linen products were manufactured, marketed, advertised, sold

and/or distributed with inflated thread counts.

       36.     Defendant Macy’s represented that numerous bedding and linen products were of

a certain thread count, but when measured in accordance with industry standards, these thread

counts were far less than claimed because Defendant improperly counted the plies making up the

threads in their linens rather than the threads themselves. As such, Defendant Macy knew or

should have known that the advertised thread counts were false and/or misleading to consumers.

       37.     Creative Textiles, on information and belief, knowingly packaged and labeled its

products including the relevant products sold by Defendant Macy’s with inflated thread counts in

order to win business or command higher prices, and either knew or should have known that the

advertised thread counts were false and/or misleading.

       38.     AQ Textiles, on information and belief, participated in developing the labeling

and packaging of the relevant products sold by Defendant Macy’s with inflated thread counts,

and either knew or should have known that the advertised thread counts were false and/or

misleading to consumers.



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        39.     Plaintiff Hill purchased a Fairfield Square 1000TC brand sheet set, imported by

AQ Textiles and manufactured by Creative Textiles, which was represented to be 1000TC from

Defendant Macy’s retail store. However, upon information and belief, the true thread count of

those sheets was in fact far less.

        40.     Plaintiff Hawes purchased a Somerset Collection brand sheet set, imported by AQ

Textiles and manufactured by Creative Textiles, which was represented by each Defendant to be

900 thread count, from Defendant Macy’s retail store at 8500 Beverly Blvd. in Los Angeles, CA.

However, the true thread count of those sheets according to industry standards was

approximately 249.

        41.     On information and belief, numerous other brands sold by Defendant Macy’s are

marketed with false thread counts.

        42.     Defendant Macy’s made false representations as to the thread count of their sheets

and bedding products on the website http://macys.com, as well as in all the retail Macy’s stores

stocked with the relevant goods in product descriptions and labels on products’ labeling and

packaging.

        43.     Defendant Macy’s representations regarding the thread counts of their sheets and

bedding products were deceptive and misleading according to both the industry standard and the

FTC’s guidelines for accurately describing thread counts.

        44.     Defendant Macy’s and its manufacturers and distributors/importers, including

Creative textiles and AQ Textiles, knew or had reason to know that the thread counts on the

sheets and bedding products were false and deceptive for at least the following reason: the prices

for the products, at both wholesale and retail levels, were substantially lower than the prices for

authentic sheets of the advertised thread counts.

        45.     Despite their knowledge, Defendant Macy’s sold sheets and bedding products

with inflated thread counts in order to obtain more business and sell more products in a

competitive market.

        46.     Defendant Macy’s, although it knew or should have known that the sheets and

bedding products were labeled with inflated thread counts, repeated those misrepresentations,

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sold the sheets and bedding products with the help of those misrepresentations, and profited from

those sales.

       47.     By improperly inflating thread counts contrary to industry standards, Defendant

Macy’s has engaged in, and continue to engage in, practices which are unconscionable,

deceptive, and fraudulent, and which are based on false pretenses, false promises,

misrepresentations, and the knowing concealment, suppression, or omission of material facts

with the intent that others rely on such concealment, suppression, or omission in their

manufacturing, advertising, marketing, selling, and distribution of bedding and linen products.

       48.     As a direct and proximate result of Defendant’s improper conduct, Plaintiffs and

Class Members paid more for bedding and linen products which Defendant represented had

inflated thread counts.

       49.     By representing that their products had higher thread counts than they actually

had, Defendant unjustly profited from the sale of such bedding and linen products to consumers.

       50.     The inflated thread counts put forth by Defendant in their products induced

Plaintiffs and other Class Members to purchase their products when Plaintiffs and other Class

Members would not have purchased them or would only have paid a lower price for the product

if they had known the actual thread counts at the time of purchase.

                              CLASS ACTION ALLEGATIONS

       51.      Plaintiffs bring this class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure and seeks to represent two Classes:


       California Class:

       All persons in California that purchased bedding or linen from Defendant Macy’s
       that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
       that was packaged or advertised with a representation regarding thread count.

       Missouri Class:

       All persons in Missouri that purchased bedding or linen from Defendant Macy’s
       that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
       that was packaged or advertised with a representation regarding thread count.



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        52.      The class period commences on the first date that Defendant Macy’s marketed,

advertised, sold and/or distributed the offending bedding and linen products and ending on the

date that the Court certifies this suit as a class action.

        53.      Excluded from the Classes (and in the alternative, the Subclasses defined below)

are Defendant, any parent, subsidiary, affiliate, or controlled person of Defendant, as well as the

officers, directors, agents, servants, or employees of Defendant.

        54.      The Classes are so numerous that joinder of all members is impracticable. The

disposition of these claims in a class action will provide benefits to the parties, Class members,

and the Court.

        55.      Although the Class members’ identities and numbers are presently unknown,

Defendant’s records can readily determine this information using objective criteria.             The

California and Missouri Classes likely consist of thousands of consumers throughout California

and Missouri.

        56.      Additionally or in the alternative to the California and Missouri State Classes, and

pursuant to Federal Rules of Civil Procedure Rule 23(c)(5), Plaintiffs seek to represent a

Nationwide Class and/or Classes (the “Subclasses”) consisting of members from the 50 States

and the District of Columbia, as well as any subclasses or issue classes that Plaintiffs may

propose and/or the Court may designate at the time of class certification. The alternative

Nationwide Class or state-based Classes could be defined as follows:

        Nationwide Class:

        All persons in the United States that purchased bedding or linen from Defendant
        Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
        Textiles and that was packaged or advertised with a representation regarding
        thread count.

        Alabama State Class:

        All persons in Alabama that purchased bedding or linen from Defendant Macy’s
        that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
        that was packaged or advertised with a representation regarding thread count.




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    Alaska State Class:

    All persons in Alaska that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Arizona State Class:

    All persons in Arizona that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Arkansas State Class:

    All persons in Arkansas that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    California State Class:

    All persons in California that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Colorado State Class:

    All persons in Colorado that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Connecticut State Class:

    All persons in Connecticut that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    Delaware State Class:

    All persons in Delaware that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    District of Columbia State Class:

    All persons in District of Columbia that purchased bedding or linen from
    Defendant Macy’s that was manufactured or supplied by AQ Textiles and/or
    Creative Textiles and that was packaged or advertised with a representation
    regarding thread count.

    Florida State Class:

    All persons in Florida that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

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    Georgia State Class:

    All persons in Georgia that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Hawaii State Class:

    All persons in Hawaii that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Idaho State Class:

    All persons in Idaho that purchased bedding or linen from Defendant Macy’s that
    was manufactured or supplied by AQ Textiles and/or Creative Textiles and that
    was packaged or advertised with a representation regarding thread count.

    Illinois State Class:

    All persons in Illinois that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Indiana State Class:

    All persons in Indiana that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Iowa State Class:

    All persons in Iowa that purchased bedding or linen from Defendant Macy’s that
    was manufactured or supplied by AQ Textiles and/or Creative Textiles and that
    was packaged or advertised with a representation regarding thread count.

    Kansas State Class:

    All persons in Kansas that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Kentucky State Class:

    All persons in Kentucky that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Louisiana State Class:

    All persons in Louisiana that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.


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    Maine State Class:

    All persons in Maine that purchased bedding or linen from Defendant Macy’s that
    was manufactured or supplied by AQ Textiles and/or Creative Textiles and that
    was packaged or advertised with a representation regarding thread count.

    Maryland State Class:

    All persons in Maryland that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Michigan State Class:

    All persons in Michigan that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Minnesota State Class:

    All persons in Minnesota that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Mississippi State Class:

    All persons in Mississippi that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    Missouri State Class:

    All persons in Missouri that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Montana State Class:

    All persons in Montana that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Nebraska State Class:

    All persons in Nebraska that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Nevada State Class:

    All persons in Nevada that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.


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    New Hampshire State Class:

    All persons in New Hampshire that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    New Jersey State Class:

    All persons in New Jersey that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    New Mexico State Class:

    All persons in New Mexico that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    New York State Class:

    All persons in New York that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    North Carolina State Class:

    All persons in North Carolina that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    North Dakota State Class:

    All persons in North Dakota that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    Ohio State Class:

    All persons in Ohio that purchased bedding or linen from Defendant Macy’s that
    was manufactured or supplied by AQ Textiles and/or Creative Textiles and that
    was packaged or advertised with a representation regarding thread count.

    Oklahoma State Class:

    All persons in Oklahoma that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.




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    Oregon State Class:

    All persons in Oregon that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Pennsylvania State Class:

    All persons in Pennsylvania that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    Rhode Island State Class:

    All persons in Rhode Island that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    South Carolina State Class:

    All persons in South Carolina that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    South Dakota State Class:

    All persons in South Dakota that purchased bedding or linen from Defendant
    Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
    Textiles and that was packaged or advertised with a representation regarding
    thread count.

    Tennessee State Class:

    All persons in Tennessee that purchased bedding or linen from Defendant Macy’s
    that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
    that was packaged or advertised with a representation regarding thread count.

    Texas State Class:

    All persons in Texas that purchased bedding or linen from Defendant Macy’s that
    was manufactured or supplied by AQ Textiles and/or Creative Textiles and that
    was packaged or advertised with a representation regarding thread count.

    Utah State Class:

    All persons in Utah that purchased bedding or linen from Defendant Macy’s that
    was manufactured or supplied by AQ Textiles and/or Creative Textiles and that
    was packaged or advertised with a representation regarding thread count.

    Vermont State Class:

    All persons in Vermont that purchased bedding or linen from Defendant Macy’s

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       that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
       that was packaged or advertised with a representation regarding thread count.

       Virginia State Class:

       All persons in Virginia that purchased bedding or linen from Defendant Macy’s
       that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
       that was packaged or advertised with a representation regarding thread count.

       Washington State Class:

       All persons in Washington that purchased bedding or linen from Defendant
       Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
       Textiles and that was packaged or advertised with a representation regarding
       thread count.

       West Virginia State Class:

       All persons in West Virginia that purchased bedding or linen from Defendant
       Macy’s that was manufactured or supplied by AQ Textiles and/or Creative
       Textiles and that was packaged or advertised with a representation regarding
       thread count.

       Wisconsin State Class:

       All persons in Wisconsin that purchased bedding or linen from Defendant Macy’s
       that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
       that was packaged or advertised with a representation regarding thread count.

       Wyoming State Class:

       All persons in Wyoming that purchased bedding or linen from Defendant Macy’s
       that was manufactured or supplied by AQ Textiles and/or Creative Textiles and
       that was packaged or advertised with a representation regarding thread count.

       57.     Plaintiffs will fairly and adequately protect the interests of the Classes and have

retained attorneys experienced in class and complex litigation as counsel.

       58.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.     A class action will permit an orderly and expeditious

administration of the claims of the Classes, will foster economies of time, effort, and expense,

and will insure uniformity of decisions. The prosecution of individual actions by Class members

would create the risk of (a) inconsistent or varying adjudications with respect to individual Class

members; and (b) be grossly impracticable because the cost of vindicating an individual Class

member’s claim would likely exceed the value of the claim.



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       59.     Defendant has acted or refused to act on grounds generally applicable to the

Classes, thereby making appropriate final injunctive relief or corresponding declaratory relief

with respect to the Classes as a whole.

       60.     Due to the relatively small amounts of damaged to each member of the Classes, a

class action is superior to other available methods for the fair and efficient adjudication of the

controversy which is subject of this action.

       61.     The interests of judicial economy will be served by concentrating litigation

concerning these claims in this Court, and there is no known difficulty that would be encountered

in the management of these Classes.

                                    EQUITABLE TOLLING

       62.     Despite knowing that their bedding and linen products were defective because

they did not contain the qualities that Defendant advertised -- specifically with regard to thread

counts - and Defendant concealed their defective nature from Plaintiff and the Class by

affirmatively marketing and advertising their products as having certain qualities that they did

not have.

       63.     Plaintiff and Class Members did not and could not have known that their bedding

and linen did not have the qualities that it was advertised to have, as this fact was not disclosed to

them and could not have been apparent from a superficial inspection the products.

       64.     Plaintiff and Class Members could not have discovered the defective nature of

Defendant’s products through the exercise of due diligence.

       65.     Due to Defendant’s fraudulent concealment of the defects associated with their

products, Defendant is estopped from asserting statute of limitations defenses to any of the

claims alleged herein.




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                                          COUNT ONE

                     Violation of the Missouri Merchandising Practices Act
    (On Behalf of Plaintiff Hill and the Missouri Class, or Alternatively, the Nationwide Class
                                       and State Subclasses) 4
          66.    Plaintiffs repeat and re-allege the allegations of the preceding paragraphs as if

fully set forth herein.

          67.    Missouri’s Merchandising Practices Act (the “MMPA”) prohibits the act, use, or

employment by any person of any deception, fraud, false pretense, false promise,

misrepresentation, unfair practice or the concealment, suppression, or omission of any material

fact in connection with the sale or advertisement of any merchandise in trade or commerce. Mo.

Rev. Stat. § 407.020.

          68.    Defendant’s conduct constitutes the act, use or employment of deception, fraud,

false pretenses, false promises, misrepresentation, unfair practices and/or the concealment,

suppression, or omission of any material facts in connection with the sale or advertisement of

any merchandise in trade or commerce because Defendant misrepresent the thread counts of the

Products.

          69.    The mispresented thread count also creates the false impression and has the

tendency and capacity to mislead consumers (see Mo. Code Regs. Ann. tit. 15, § 60-9.020) into

believing that the Products are of a higher quality, luxury, durability and longevity than they in

fact are. Moreover, the overall format and appearance of the Products have the tendency and

capacity to mislead consumers (15 Mo. Code Regs. Ann. tit. 15, § 60-9.030) because they create

the false impression that the Products have a higher thread count than they actually do.

          70.    The Products were therefore worth less than the Products as represented, and

Plaintiffs and Class Members paid extra or a premium for them.

          71.    Plaintiffs and Class Members purchased the Products for personal, family, or

household purposes and thereby suffered an ascertainable loss as a result of Defendant’s


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 Substantially similar statutes exist in each of the other 49 states and the District of Columbia,
which would permit the alternatively-pleaded state classes to pursue claims similar to the
Missouri and California law-based claims in Counts I-IV.
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unlawful conduct as alleged herein, including the difference between the actual value of the

Product and the value of the Product if they had been as represented.

                                           COUNT TWO

                        Unfair Competition Law – Unlawful Prong
                California Business and Professions Code, § 17200, et seq.
 (On Behalf of Plaintiff Hawes and the California Class, or Alternatively, the Nationwide
                               Class and State Subclasses)
       72.      Plaintiffs repeat and reallege all preceding paragraphs as if fully set forth herein.

       73.      Plaintiffs bring this Count on behalf of themselves and the California Class.

       74.      The acts of each of Defendant as described herein constitute unlawful business

practices and violations of California’s Unfair Competition Law, Business and Professions Code

§ 17200, et seq. (UCL). Section 17200 prohibits any “unlawful, unfair or fraudulent business act

or practice.”

       75.      Defendant’s business practices as alleged are unlawful under Federal Trade

Commission Act (FTCA) § 5(a), 15 U.S.C. § 45(a), which outlaws “unfair or deceptive acts or

practices in or affecting commerce.”

       76.      Defendant’s business practices are unfair under FTCA § 5(a) because they are

“likely to cause substantial injury to consumers which is not reasonably avoidable by consumers

themselves and not outweighed by countervailing benefits to consumers or to competition.” 15
U.S.C. § 45(n).

       77.      Defendant’s business practices are deceptive under FTCA § 5(a) because they

include affirmative representations and omissions and are likely to mislead reasonable

consumers under the circumstances.

       78.      Defendant’s business practices are further unlawful under the CLRA and under

UCL § 17000, et seq., as alleged herein.

       79.      Defendant’s business practices are also unlawful pursuant to the FTCA by way of

the Textile Fiber Products Identification Act, 15 U.S.C. §§ 70a(a), 70a(b), and/or § 70a(c).

These sections make it unlawful, under 15 U.S.C. §§ 41 et seq., to sell, transport, deliver, or

advertise “any textile fiber product . . . which is misbranded or deceptively advertised.”

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       80.     As a result of Defendant’s unlawful business practices, Plaintiff and Class

Members have been harmed and are entitled, pursuant to UCL § 17203, to injunctive relief

against the continuation of Defendant’s practices, as well as the restitution of payments made for

Defendant’s bedding and linen products, including other equitable relief, costs, and attorneys’

fees as recoverable by law.

                                         COUNT THREE

                         Unfair Competition Law – Unfair Prong
                California Business and Professions Code, § 17200, et seq.
 (On Behalf of Plaintiff Hawes and the California Class, or Alternatively, the Nationwide
                               Class and State Subclasses)
       81.     Plaintiffs repeat and reallege all preceding paragraphs as if fully set forth herein.

       82.     Plaintiffs bring this Count on behalf of themselves and the California Class.

       83.     The acts of each of Defendant as described herein constitute unfair competition

under § 17200. They are contrary to public policy, violative of at least the FTCA, CLRA, and

California False Advertising Law, and injurious to the public and to competitors who advertise

accurate thread counts.

       84.      Purchasers of Defendant’s misleadingly advertised and labeled bedding and linen

products, including Plaintiff and Class Members, were injured because they paid an excessive

price for a product other than what they thought they were buying.
       85.     Falsely advertising thread counts has no conceivable benefit to consumers or to

competition. This behavior leads consumers to purchase products they do not want, and it forces

competitors to either follow suit in the deceptive conduct or suffer lost sales.

       86.     Consumers could not have reasonably avoided the injuries they suffered because

they lack the skill, knowledge, resources, equipment, and opportunity necessary to discern the

true nature of the bedding and linen products Defendant sold.

       87.     As a result of Defendant’s unfair business practices, Plaintiff and Class Members

have been harmed and are entitled, pursuant to UCL § 17203, to injunctive relief against the

continuation of Defendant’s practices, as well as the restitution of payments made for

Defendant’s bedding and linen products including other equitable relief, costs, and attorneys’

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fees as recoverable by law.

                                           COUNT FOUR

                       Unfair Competition Law – Fraudulent Prong
                California Business and Professions Code, § 17200, et seq.
 (On Behalf of Plaintiff Hawes and the California Class, or Alternatively, the Nationwide
                               Class and State Subclasses)
       88.       Plaintiffs repeat and reallege all preceding paragraphs as if fully set forth herein.

       89.       Plaintiffs bring this Count on behalf of themselves and the California Class.

       90.       The acts of each of Defendant constitute fraudulent business practices under UCL

§ 17200.      They are contrary to public policy, violative of at least the FTCA, CLRA, and

California False Advertising Law (UCL § 17500), and injurious to the public and to competitors

who advertise accurate thread counts or no thread counts.

       91.       Defendant represented the bedding and linen products as having a specified thread

count with the intention that customers would rely on those representations in their purchases.

       92.       Defendant knew or should have known that the threat counts they represented

were false.

       93.       Defendant’s thread count representations were material factors in the purchases of

the bedding and linen products by Plaintiff and the Class.

       94.       Defendant’s thread count representations were and continue to be relied upon by
reasonable consumers, such as Plaintiff and the Class.

       95.       Due to Defendant’s fraudulent and deceptive representations concerning thread

count, Plaintiff and the Class paid too much for the bedding and linen products.

       96.       As a result of Defendant’s fraudulent business practices, Plaintiff and Class

Members have been harmed and are entitled, pursuant to UCL § 17203, to injunctive relief

against the continuation of Defendant’s practices, as well as the restitution of payments made for

Defendants’ bedding and linen products including other equitable relief, costs, and attorneys’

fees as recoverable by law.




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                                            COUNT FIVE

                           Misleading and Deceptive Advertising
                  California Business and Professions Code, § 17500, et seq.
                   (On Behalf of Plaintiff Hawes and the California Class)
       97.     Plaintiffs repeat and reallege all preceding paragraphs as if fully set forth herein.

       98.     Plaintiffs bring this Count on behalf of themselves and the California Class.

       99.     Plaintiffs assert this cause of action against each of Defendant for misleading

advertising in violation of California Business and Professions Code Section 17500.

       100.    Defendant, at relevant times, have offered for sale bedding and linen products

with deceptive advertisements and product specifications, as described herein. These deceptive

advertisements and product specifications were made in the State of California and include

product descriptions, advertisements, price listings, or other inducements in retail stores, or on

the internet or in catalogs and other media.

       101.    Defendant’s representations fall within the ambit of § 17500 because the

representations were intended to induce the public to purchase the bedding and linen products

referenced in the representations, and Defendant knew or should have known that the

representations were misleading.

       102.    By disseminating representations that falsely represented the nature of the

bedding and linen products to the general public, Defendant are likely to deceive the public of

the State of California and other States.

       103.    As a result of Defendant’s misleading and deceptive advertising, Plaintiff and

Class Members have been harmed and are entitled, pursuant to § 17535, to injunctive relief

against the continuation of Defendants’ practices, as well as the restitution of payments made for

Defendants’ bedding and linen products, or the replacement of the products with goods of the

type and quality described in the misleading advertisements, including other equitable relief,

costs, and attorneys’ fees as recoverable by law.




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                                           COUNT SIX

               Violations of the California Consumer Legal Remedies Act,
                            California Civil Code § 1750, et seq.
     (On Behalf of Plaintiff Hawes and the California Class, Against Each Defendant)
       104.    Plaintiffs repeat and reallege all preceding paragraphs as if fully set forth herein.

       105.    Plaintiffs bring this Count on behalf of themselves and the California Class.

       106.    Plaintiff brings this count pursuant to the Consumer Legal Remedies Act,

California Civil Code § 1750, et seq. (“CLRA”), for omissions by Defendant, made actionable

by affirmative misrepresentations and/or exclusive knowledge of material facts, and Defendant’s

active concealment of the truth.

       107.    On June 27, 2017, over four months before the filing of the Complaint, Plaintiff

Sarah Hawes sent Defendant a pre-suit notice letter pursuant to the CLRA. Exhibit E.

       108.    The bedding and linen products are “goods” pursuant to the CLRA at California

Civil Code § 1761(a).

       109.    Defendant is a “person” pursuant to the CLRA at California Civil Code § 1761(c).

       110.    Plaintiff and the Class Members are “consumers” pursuant to the CLRA at

California Civil Code § 1761(d).

       111.    Purchases of the bedding and linen products by Plaintiff and the Class Members

are “transactions” pursuant to the CLRA at California Civil Code § 1761(e).

                                   Affirmative Misrepresentations

       112.    Thread count is a specific, quantifiable attribute of bedding and linen products.

       113.    There is no requirement to communicate the thread count of bedding and linen

products when advertising or selling them to consumers. However, thread count is a significant

driver of consumers’ perceptions of the value, quality, durability and longevity of the products,

as alleged throughout this Complaint.

       114.    Defendant sold to Plaintiff bedding and linen products that were advertised with

inflated thread counts.

       115.    Defendant knew or should have known that the thread counts listed by themselves


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and/or their manufacturers or wholesalers were false or misleading.

       116.      Defendant, as detailed in this Complaint, repeated these false or misleading

statements of thread count in various product listings and descriptions, either in the store, or

advertisements, or the website, which were seen and relied upon by Plaintiff and Class Members.

       117.      These misstatements of the thread count of the bedding and linen products are

prohibited by the CLRA, because they are “undertaken by [Defendant] in a transaction intended

to result or which results in the sale or lease of [the bedding and linen products] to any

consumer.”

       118.      Defendant violated the CLRA by knowingly advertising that their bedding and

linen products had a higher thread count than they actually had.

       119.      Defendant violated the CLRA’s proscription against misrepresentation of the

“approval, characteristics, ingredients, uses, benefits, or quantities” of the bedding and linen

products by advertising a falsely inflated thread count.       These misrepresentations violated

California Civil Code § 1770(a)(5)’s proscription against representing that goods have

characteristics that they do not have; Civil Code § 1770(a)(7)’s proscription against representing

that goods are of a particular standard, quality or grade when they are of another; and Civil Code

§ 1770(a)(9)’s proscription against advertising goods with the intent not to sell the goods as

advertised.

              Exclusive Knowledge of Material Facts and Omissions of Material Facts

       120.      Upon information and belief, through examination of their own products and

interactions with manufacturers or wholesalers, and as otherwise detailed in this Complaint,

Defendant have exclusive knowledge concerning the actual thread count of the bedding and linen

products that they import and sell to consumers.

       121.      Defendant owe consumers a duty to disclose that the thread count information

listed by Defendants, and/or the manufacturers or wholesalers of the bedding and linen products

and advertised by Defendant is misleading and/or false.

       122.      Consumers, including Plaintiffs, have no realistic means of determining the actual

thread count of the bedding and linen products. A textile expert with magnifying equipment is

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needed to make such a determination. Further, the process of testing the thread count damages

the sheets. Consumers therefore cannot be expected to discover the true thread count before

making a purchase. This is true under any circumstances, but especially when ordering products

over the internet or by catalog.

         123.   Retailers of bedding and linen products frequently fail to identify the

manufacturer, importer, or seller of textiles at the point of sale or on product packaging. Import

records similarly do not reveal the names of the original manufacturers of the materials used to

construct the imported products. These omissions from packaging and import records make it

difficult to trace products back to manufacturers.

         124.   Defendant concealed from Plaintiffs and Class Members that the thread counts

advertised for the bedding and linen products are inflated to more than the actual thread count as

a result of counting plies rather than threads, and that these thread counts are not calculated

according to the method used by other bedding and linen providers and prescribed by ASTM

D3775.

         125.   Plaintiffs and Class Members, as reasonable consumers, attached importance to

representations by Defendant concerning the thread counts of the bedding and linen products in

deciding whether to purchase the products, and in deciding whether the price was reasonable.

Thread counts are a material factor in consumers’ determinations of the value and quality of

bedding and linen products.

         126.   Without disclosure of the above information, reasonable consumers such as

Plaintiffs were and continue to be deceived by Defendant’s false thread counts.

         127.   Defendant violated the CLRA by failing to disclose material facts and continuing

to advertise thread counts Defendant knew to be inflated in, without limitation, product labels,

advertisements, product descriptions, and website text.

         128.   Defendant knew or should have known that their misrepresentations would cause

Plaintiffs and Class Members to pay higher prices for the bedding and linen products than they

would have paid, had a misleading thread count not been advertised.

         129.   In failing to disclose material facts contrary to their affirmative representations,

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Defendant violated California Civil Code § 1770(a)(5)’s proscription against representing that

goods have characteristics that they do not have; Civil Code § 1770(a)(7)’s proscription against

representing that goods are of a particular standard, quality, or grade when they are of another;

and Civil Code § 1770(a)(9)’s proscription against advertising goods with the intent not to sell

the goods as advertised.

       130.    Pursuant to California Civil Code § 1782(d), Plaintiffs seek the following relief

for Defendant’s violations of CLRA §§ 1770(a)(5), (7), and (9) with regard to the bedding

products identified herein:

       a.      Actual damages under Civil Code § 1780(a)(1);

       b.      Restitution under Civil Code § 1780(a)(3);

       c.      Punitive damages under Civil Code § 1780(a)(4);

       d.      Attorneys’ fees and costs under Civil Code § 1780(d); and
       e.      Any other relief the Court deems just and proper under the CLRA.

       131.    Defendant was put on notice of the violations of law pled above in several ways

including but not necessarily limited to prior customer complaints, and a letter pursuant to Cal. Civ.

Code § 1782(a) & (d) sent by counsel for Plaintiffs to Defendant on or around June 27, 2017, which

apprised them generally of acts and omissions pled herein. As of the filing of the Amended

Complaint, Defendant has failed to cure their breach.

                                         COUNT SEVEN

                               Breach of Express Warranty
                       California and Missouri Law / U.C.C. § 2-313
 (On Behalf of the California and Missouri Classes, or Alternatively, the Nationwide Class
                                   and State Subclasses)
       132.     Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

       133.    This Count is brought on behalf of the California and Missouri Classes.

       134.    Defendant was put on notice of the violations of law pled above in several ways

including but not necessarily limited to prior customer complaints, and a letter pursuant to Cal. Civ.

Code § 1782(a) & (d) sent by counsel for Plaintiffs to Defendant on or around June 27, 2017, which


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apprised them generally of acts and omissions pled herein. The letter also advised Defendant

Macy’s of the breach of the warranty. As of the date of the filing of the amended complaint,

Defendant Macy’s still has not cured the breach.

       135.    On or around October 19, 2018, a letter was sent to Defendant Macy’s on behalf

of Plaintiff Amy Hill which apprised them generally of acts and omissions pled herein. The letter

also advised Defendant Macy’s of the breach of the warranty. As of the date of the filing of the

amended complaint, Defendant Macy’s still has not cured the breach.

       136.    Pursuant to § 2-313 of the UCC ‘[a]ny affirmation of fact or promise made by the

seller to the buyer which relates to the goods and becomes part of the basis of the bargain creates an

express warranty that the goods shall conform to the affirmation or promise.’’’ Representations or

affirmations, regarding the products’ quality, characteristics and/or longevity stated on product

packaging and labeling create warranties.

       137.    Defendant Macy’s affirmations of fact and/or promises relating to their sheets and

bedding products created express written warranties that the products would conform to

Defendant’s affirmations of fact and/or promises over the expected life of the of the products.

       138.    Alternatively, Defendant’s representations, descriptions and specifications of the

quality, durability, longevity and fitness of their sheets and bedding products became part of the

bases of the bargains, creating express written warranties that the products purchased by

Plaintiffs and Class Members would conform to those representations, descriptions and

specifications over the expected life of the products.

       139.    In fact, the sheets and bedding products purchased by Plaintiffs and the Class did

not so conform to Macy’s representations, descriptions and specifications which created express

warranties.

       140.    Plaintiffs   and   the    Class   were    the   intended   targets   of   Defendant’s

misrepresentations.

       141.    Plaintiffs and the Class reasonably relied on Macy’s misrepresentations,

descriptions and specifications regarding the products’ thread count, quality, durability.

longevity and fitness of the products.

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       142.    Thread count determines and affects the quality, durability, longevity and overall

fitness for bedding and linen products. The higher the thread count in the bedding and linen

product the higher quality, durability, longevity and overall fitness of those products. As thread

count increases, so does the quality, durability, longevity and overall fitness of the products. A

product with a higher thread count will be of higher quality, more durable and last longer than a

product with a lower thread count.

       143.    As stated herein, consumers rely on the represented thread counts as the gauge for

the quality, durability, longevity and fitness for their bedding and linen products. And consumers

pay more for the higher thread count in sheet and linen products reasonably believing that they

are purchasing products with superior quality, durability, longevity and fitness than products

with lower thread counts.

       144.    As stated herein, industry participants at every level of the supply chain including

Defendant Macy’s know that consumers use thread count as the gauge of quality, durability,

longevity, and fitness for their bedding and linen products and will pay more for a product with a

higher thread count than they will for a product with a lower thread count and as such increase

the price as the thread counts of the products increase.

       145.    Macy’s expressly warrants on the labels of the sheets and bedding products that

they have certain thread counts, qualities, durability, longevity, specifications and characteristics.

In fact, the products’ thread counts are lower than promised and warranted and as such the

products’ quality, durability, longevity are less than what was represented, promised and

warranted with products with those represented thread counts.

       146.    Plaintiffs and Class Members relied on Defendant’s false representations as to the

sheets and bedding products’ thread counts.

       147.    Defendant Macy’s has breached their express warranties.

       148.    As a result of the foregoing, the Plaintiffs and the Class Members have suffered

damages in that the value of the products they purchased was less than warranted by Defendant

Macy’s.

       149.    Plaintiffs and the Class were injured as a result of Defendant’s breach of their

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express warranties about their sheets and bedding products.

          150.   Plaintiffs, individually and on behalf of a Nationwide Class, seek all damages

permitted by law, including a full refund of the purchase price for the sheets, compensation for

the monetary difference between the sheets and bedding products as warranted and as sold,

incidental and consequential damages, statutory attorney fees, and all other relief allowed by law.

                                          COUNT EIGHT

                                          Fraud
 (On Behalf of the California and Missouri Classes, or Alternatively, the Nationwide Class
                      and State Subclasses, Against Each Defendant)
          151.   Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

          152.   Plaintiffs bring this Count on behalf of themselves and the Classes.

          153.   Defendant designed, manufactured, marketed, and/or sold sheets and bedding

products with falsely inflated thread counts to Plaintiff and the Class. Defendant represented to

Plaintiff and the Class in advertising, packaging, product descriptions, and other forms of

communication, including standard and uniform material, that the sheets and bedding products

had higher thread counts than their true thread counts.

          154.   Defendant were aware of or should have been aware of the falsity of these

representations.

          155.   Plaintiffs and the Class reasonably relied upon Defendant’s deception. Plaintiffs

and the Class had no way of knowing that Defendant’s representations were false and/or

misleading, and contrary to long-standing industry standards. As consumers, Plaintiffs and the

Class did not and could not unravel Defendant’s deception on their own. Rather, Defendant’s

intended to deceive Plaintiff and the Class by concealing the true facts about the products’ thread
counts.

          156.   Defendant’s    representations   were    material   to   consumers     because    the

representations were directly relevant to the value and quality of the products.

          157.   Plaintiffs, individually and on behalf of the Class, seeks all damages permitted by

law, including full refund of the purchase price for the sheets, compensation for the monetary


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difference between the sheets and bedding products as warranted and as sold, incidental and

consequential damages, punitive damages, attorney fees, and all other relief allowed by law.

                                          COUNT NINE

                                   Unjust Enrichment
 (On Behalf of the California and Missouri Classes, or Alternatively, the Nationwide Class
                      and State Subclasses, Against Each Defendant)
       158.    Plaintiffs incorporate by reference all paragraphs as though fully set forth herein.

       159.    Plaintiffs bring this Count on behalf of themselves and the Classes.

       160.    As Plaintiffs and the Class show just grounds for recovering money to pay for

benefits Defendant received from them, they have a right to restitution at law through an action

derived from the common-law writ of assumpsit by implying a contract at law, or a quasi-

contract as an alternative to a claim for breach of contract.

       161.    Plaintiffs and members of the Class conferred a benefit upon Defendant Macy’s

by purchasing the bedding and linen products with an elevate thread count which was false and

misleading.

       162.    Defendant had knowledge that this benefit was conferred upon it.

       163.    Defendant, having received such benefits, is required to make restitution as the

circumstances here are such that, as between the two, it is unjust for Defendant to retain such

monies based on the illegal conduct described above. Such money or property belongs in good

conscience to Plaintiffs and the Class members and can be traced to funds or property in
Defendant’s possession. Plaintiff and Class members have unjustly enriched Defendant through

payments and the resulting profits enjoyed by Defendant as a direct result of such payments.

Plaintiff’s and Class members’ detriment and Defendant’s enrichment were related to and flowed

from the conduct challenged in this Complaint.

       164.    Defendant appreciated, accepted, and retained the non-gratuitous benefits

conferred by Plaintiffs and the proposed Class members, who, without knowledge that the

bedding products and linens had elevated thread counts which were false and not accurate and

that the bedding and linen products would not perform as advertised, paid a higher price for the


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product than it was worth. Defendant also received monies for the bedding and linen products

that Plaintiffs and the proposed Class members would not have otherwise purchased had they

known the truth about the thread counts and quality and characteristics of the bedding and linen

products.

       165.    It would be inequitable and unjust for Defendant to retain these wrongfully

obtained profits.

       166.    Defendant’s retention of these wrongfully obtained profits would violate the

fundamental principles of justice, equity, and good conscience.

       167.    An entity that has been unjustly enriched at the expense of another is required to

make restitution to the other. Under common law principles recognized in claims of common

counts, assumpsit, and quasi-contract, as well as principles of unjust enrichment, under the

circumstances alleged herein it would be inequitable for Defendant to retain such benefits

without paying restitution or damages therefor. Defendant should not be permitted to retain the

benefits conferred via payments to be received from and/or paid by Plaintiff and Class members

as a result of such transactions, and other remedies and claims may not permit them to obtain

such relief, leaving them without an adequate remedy at law.

                                DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all claims so triable as a matter of right pursuant to

Federal Rule of Civil Procedure 38(b).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and the putative Class Members pray that the Court enter

judgment for them and against Defendant as follows:

       a.      Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,

               certifying Plaintiffs as the representatives of the Class, and designating Plaintiffs’

               counsel as counsel for the Class;

       b.      Declaring that Defendant’s acts and practices, as described herein, constitute

               deceptive acts and unconscionable business practices that are unlawful under the

               California and Missouri consumer statutes, and common law.

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      c.     Awarding Plaintiffs and the Class permanent injunctive relief prohibiting,

             restraining, and enjoining defendant from engaging in the conduct complained of

             herein, including, but not limited to, manufacturing, marketing, advertising,

             selling, and distributing bedding and linen products that have inflated thread

             counts;

      d.     Directing Defendant to disgorge profits from its misleading and deceptive

             practices and to pay restitution to the Class;

      e.     Awarding Plaintiffs and the Class actual, compensatory damages in an amount to

             be proven;

      f.     Awarding Plaintiffs and the Class restitution of all monies paid to Defendant as a

             result of unlawful, deceptive, and unfair business practices;

      g.     Awarding Plaintiffs and the Class exemplary damages in an amount to be proven;

      h.     Ordering Defendant to issue corrective advertising;

      i.     Awarding Plaintiffs and the Class reasonable attorneys’ fees, experts witness fees,

             pre- and post-judgment interest, and other costs in amounts to be determined by

             the Court; and

      j.     Granting any other further legal or equitable relief as this Court deems

             appropriate.


Date: October 23, 2018                      By:     _/s/Jack Landskroner__________________
                                                    Jack Landskroner (0059227)
                                                    Drew Legando (0084209)
                                                    Landskroner Grieco Merriman, LLC
                                                    1360 W 9th St #200
                                                    Cleveland, OH 44113
                                                    Phone: 888-570-3609
                                                    Jack@lgmlegal.com

                                                    Bruce Steckler
                                                    Stuart Cochran
                                                    Kirstine Rogers
                                                    STECKLER GRESHAM COCHRAN
                                                    12720 Hillcrest Road, Suite 1045
                                                    Dallas, TX 75230

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                                           Phone: 972-387-4040
                                           bruce@stecklerlaw.com
                                           stuart@stecklerlaw.com
                                           krogers@stecklerlaw.com

                                           Erica Mirabella
                                           MIRABELLA LAW LLC
                                           132 Boylston St. 5th Floor
                                           Boston, MA 02116
                                           Telephone: (855) 505-5342
                                           erica@mirabellallc.com

                                           Charles LaDuca
                                           David Black
                                           Brendan Thompson
                                           CUNEO GILBERT & LADUCA LLP
                                           4725 Wisconsin Avenue, NW
                                           Suite 200
                                           Washington, DC 20016
                                           Telephone: (202)789-3960
                                           Facsimile: (202) 789-1813
                                           charles@cuneolaw.com
                                           dblack@cuneolaw.com

                                           Michael McShane
                                           Clint Woods
                                           AUDET & PARTNERS, LLP
                                           711 Van Ness Avenue
                                           Suite 500
                                           San Francisco, CA 94102
                                           Telephone: (415) 568-2555
                                           Facsimile: (415) 568-2556
                                           mmcshane@audetlaw.com
                                           lkuang@audetlaw.com

                                           Charles Schaffer
                                           LEVIN SEDRAN & BERMAN, LLP
                                           510 Walnut Street
                                           Suite 500
                                           Philadelphia, PA 19106
                                           Telephone: (877) 882-1011
                                           Facsimile: (215) 592-4663
                                           cschaffer@lfsblaw.com

                                           Attorneys for Plaintiffs




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